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                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     O RLANDO D IVISION

    LOCKHEED MARTIN CORPORATION a
    Maryland corporation,

                            Plaintiff,

    -vs-                                           Case No. 6:05-cv-1580-Orl-31KRS

    L-3 COMMUNICATIONS
    CORPORATION, a Delaware corporation,
    MEDIATECH, INC., a Delaware
    corporation, KEVIN SPEED, STEVE
    FLEMING, and PATRICK ST. ROMAIN,

                            Defendants.
    ______________________________________
    L-3 COMMUNICATIONS
    CORPORATION, a Delaware corporation,

                            Counter-
    Plaintiff,

    vs.

    LOCKHEED MARTIN CORPORATION, a
    Maryland corporation,

                      Counterclaim
    Defendant,
    and

    JACK KELLY, THOMAS DORSEY,
    MICHAEL HOMAN, and THOMAS
    HULL,

                      Additional
    Counterclaim
                      Defendants.
    _______________________________________
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                                                 ORDER

           This matter comes before the Court on the motion for reconsideration (Doc. 196) filed by

    the Plaintiff, Lockheed Martin Corporation (“Lockheed”). Based on a recent decision of the

    United States Court of Appeals for the Fifth Circuit, Lockheed seeks reconsideration of this

    Court’s orders (Doc. 112, 167, 168, 172, and 173) dismissing certain claims under the Computer

    Fraud and Abuse Act (“CFAA”) on the grounds that the defendants were authorized to access the

    computers and data at issue. (Doc. 196 at 2). Lockheed contends that the Fifth Circuit, in United

    States v. Phillips, 2007 WL 172131 (5th Cir. 2007), expanded the law of the First, Third, and

    Seventh Circuits and, consistent with Lockheed’s position, “held that ‘authorized access’ is not to

    be narrowly construed.” (Doc. 196 at 2).

           After reviewing the case, the Court finds no such expansion. In Phillips, a criminal case,

    the defendant was a student at the University of Texas who exploited a security flaw to hack his

    way into one of his university’s allegedly secure servers. Id. at *1. The server, which was

    operated for faculty and staff, not students such as Philips, allowed authorized users to gain access

    by typing their Social Security numbers into a field on a log-in page on a school website. Id.

    Phillips created a program that entered hundreds of Social Security numbers per minute to the log-

    in page. Id. He limited the numbers to ones that had been issued to people born in Texas. Id.

    Once one of his program’s numbers matched the Social Security number of an authorized user,

    Philips gained access to the server and was able to extract the authorized user’s personal

    information. Id.




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           On appeal from his conviction under the CFAA, Philips argued that there was insufficient

    evidence that he accessed the server without authorization, and that he did so intentionally. Id. at

    *2. The Court had no difficulty finding that his “brute-force attack program was not an intended

    use of the UT network within the understanding of any reasonable computer user and constitutes a

    method of obtaining unauthorized access to computerized data that he was not permitted to view

    or use.” Id. at *3. Philips also argued that because the log-in website he was using was available

    to the public, he (and everyone else) was a de facto authorized user, and that he was merely

    exceeding his authorization. Id. at *4. The Court rejected this argument on the grounds that

    authorized access to a website was, at least in that case, entirely different from authorized access to

    the programs and data that could be accessed through that website. Id.

           The Court finds nothing in the Philips opinion that expands the definition of authorized

    access under the CFAA or that even arguably parallels the situation in the instant case. There is no

    dispute whether the defendants in this case were authorized by Lockheed to access the computers

    and data at issue. Unlike the defendant in Philips, they were. The only point of contention is

    whether their alleged use of that access to pilfer trade secrets for Lockheed’s competitors either

    exceeded or extinguished that authorization. Philips does not provide any guidance on that point.




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           In consideration of the foregoing, it is hereby ORDERED AND ADJUDGED that the

    motion for reconsideration (Doc. 196) filed by the Plaintiff, Lockheed Martin Corporation, is

    DENIED.

           DONE and ORDERED in Chambers, Orlando, Florida on February 20, 2007.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




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